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                             JURISDICTION AND VENUE

       1.     The Court has subject matter jurisdiction under 28 U.S.C. §§ 1331, 1345, and

31 U.S.C. § 3733(j)(1).

       2.     Venue is proper under 31 U.S.C. § 3733(j)(1) and 28 U.S.C. § 1391(b), because

each Respondent transacts business within the Middle District of Florida.

                                      THE PARTIES

       3.     The Petitioner is the United States of America. The United States has statutory

authority to investigate and pursue violations of the FCA.

       4.     Respondent PPOA is a limited liability company organized under the laws of

Delaware1 and headquartered in Tampa.2 According to its website, PPOA offers pain

management, orthopedics, and minimally invasive laser spine surgery, among other services.3

As of 2018, PPOA had more than 500 employees and operated out of nearly 30 locations. Id.




       1
        See Fla. Dep’t of State – Div. of Corps., “Application by Foreign Limited Liability
Company for Authorization to Transact Business in Florida” (July 7, 2016),
http://search.sunbiz.org/Inquiry/CorporationSearch/ConvertTiffToPDF?storagePath=CO
R%5C2016%5C0715%5C00167483.Tif&documentNumber=M16000005586 (last visited,
Mar. 12, 2021).
       2
         See Fla. Dep’t of State – Div. of Corps., “Physician Partners of America, LLC,”
http://search.sunbiz.org/Inquiry/corporationsearch/SearchResultDetail?inquirytype=Entit
yName&directionType=Initial&searchNameOrder=PHYSICIANPARTNERSAMERICA
%20M160000055860&aggregateId=forl-m16000005586-a4c438a7-c040-464b-ba91-
0a86016d0168&searchTerm=PHYSICIAN%20OFFICE%20PARTNERS%2C%20INC.&li
stNameOrder=PHYSICIANOFFICEPARTNERS%20F120000037770 (last visited, Mar.
12, 2021).

      Physician Partners of America, “About PPOA,”
       3

www.physicianpartnersofamerica.com/about-ppoa/ (last visited, Mar. 12, 2021).

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       5.      Respondent Terri Casey is the former “Senior Vice President, Human

Resources & Compliance” at PPOA. Ex. 1 at CID009, ¶ 3. She is also the recipient of the

CID at issue in this Petition. Ex. 1 at CID002.

                                  THE FALSE CLAIMS ACT

       6.      The FCA is the United States’ primary tool to recover losses resulting from

fraud. See, e.g., McNutt ex rel. United States v. Haleyville Med. Supplies, Inc., 423 F.3d 1256, 1259

(11th Cir. 2005) (quoting Avco Corp. v. U.S. Dep’t of Justice, 884 F.2d 621, 622 (D.C. Cir. 1989));

see also S. Rep. No. 99-345, at 2 (1986) (FCA is “the Government’s primary litigative tool for

combatting fraud”). The FCA was drafted “expansively … to reach all types of fraud, without

qualification, that might result in financial loss to the Government.” Cook County v. United

States ex rel. Chandler, 538 U.S. 119, 129 (2003).

       7.      The FCA imposes statutory damages and civil penalties for, among other

things, knowingly submitting, or causing to be submitted, a false or fraudulent claim for

payment or approval to the United States, 31 U.S.C. § 3729(a)(1)(A), or knowingly making,

using, or causing to be made or used, a false record or statement material to a false or

fraudulent claim, 31 U.S.C. § 3729(a)(1)(B).

       8.      A person or entity’s failure to comply with the Anti-Kickback Statute (AKS),

42 U.S.C. § 1320a-7b, or the Stark Law, 42 U.S.C. § 1395nn, can serve as a basis for FCA

liability. See, e.g., United States v. Marder, 208 F. Supp. 3d 1296, 1316 (S.D. Fla. 2016)

(“Because compliance with the AKS and the Stark [Law] is a condition of payment for

Medicare and Medicaid, claims submitted for services rendered in violation of these statutes

‘can form the basis of liability under the F[CA].’”) (quoting United States v Baycare Health Sys.,

No. 8:14-CV-73-T-EAJ, 2015 WL 4878456, at *1 (M.D. Fla. Aug. 14, 2015)); 42 U.S.C. §


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1320a-7b(g) (“a claim that includes items or services resulting from a violation of [the AKS]

constitutes a false or fraudulent claim for the purposes of [the FCA]”); cf. 42 U.S.C. §

1395nn(g) (preventing payment of claims resulting from Stark Law violations).

       9.     By law, the Department must investigate violations of the FCA. See 31 U.S.C.

§ 3730(a). The FCA authorizes the Department to issue CIDs for documents, information,

or testimony in furtherance of such investigations. See 31 U.S.C. § 3733(a)(1); see also United

States v. Witmer, 835 F. Supp. 208, 211 (M.D. Pa. 1993) (“False Claims Act CIDs allow the

Department of Justice … to compel the production of documents and the appearance of

individuals for oral examination during a pre-complaint investigation of potential fraud

against the government.”). The Department may issue a CID to “any person” it “has reason

to believe … may be in possession, custody, or control of any documentary material or

information relevant to a false claims law investigation.” 31 U.S.C. § 3733(a). The FCA

permits the Government to enforce CIDs in district court. See 31 U.S.C. § 3733(j)(1).

                                PROCEDURAL HISTORY

PPOA’s Document Production

       10.    On June 21, 2018, the Department served a CID for documents on PPOA

(“PPOA CID”). Ex. 1 at CID005-007.

       11.    In November 2018, PPOA produced about 2,500 emails in response to the

PPOA CID. See Ex. 1 at CID090, CID109. PPOA did not request a claw-back agreement

before producing the documents. Ex. 1 at CID109.




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       12.    Among the emails that PPOA produced were exchanges between Ms. Casey

and other PPOA employees related to the drafting of specific contractual provisions and issues

of legal compliance.4

       13.    According to PPOA’s privilege log, PPOA did not redact or withhold any email

or document exchanged between Ms. Casey and other PPOA personnel on the basis of

privilege. See Ex. 1 at CID019. Similarly, PPOA’s privilege log does not identify any

communication between Ms. Casey and any outside counsel. Id.

The Casey CID and PPOA’s Privilege Assertions

       14.    On March 3, 2020, the Department served a separate CID for oral testimony

on Ms. Casey (“Casey CID”). See Ex. 1 at CID002-003. Ms. Casey had previously served as

PPOA’s “Senior Vice President, Human Resources & Compliance.”5 Ex. 1 at CID009, ¶ 3.

In that role, Ms. Casey was charged to “render such services for the Company and its

affiliates, as are customary in [her human resources and compliance] position[.]” Id.

       15.    In the Casey CID, the Department outlined the areas that it intended to explore

at Ms. Casey’s examination, including “[Ms. Casey’s] knowledge of PPOA’s billing practices,



       4
          See, e.g., Ex. 1 at CID021 (draft contract language), CID041 (same), CID061-067
(edits to company-wide email), CID068-070 (“Unlike the quantitative laboratory this type of
laboratory (often referred to as a yes/no qualitative lab) may be owned by a medical
practice.”); Ex. 2 at CID201 (draft contractual language), CID203 (same), CID205 (same),
CID207 (same), CID209 (same), CID211 (same), CID213 (same). PPOA also produced draft
employment contracts that were circulated for approval within PPOA. See, e.g., Ex. 1 at
CID023-040 (draft Fuoco contract); CID043-060 (draft Cupido contract).
       5
         Ms. Casey no longer works for PPOA, but for a company that handles outsourced
human resources work.             See Engagement Advisors, “What We Do,”
www.engagementadvisors.com/what-we-do/ (last visited, Mar. 12, 2021) (“Our experts can
serve as your HR advisor providing a full range of services. …[W]e help ensure that you’re
doing what it takes to meet the needs of your executives and employees while ensuring
compliance and minimizing risk.”).

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agreements with physicians, participation in recommending or reviewing compensation for

services, procedures, treatments, or testing, and general familiarity with the structure and

policies of PPOA and its affiliated entities.” Ex. 1 at CID003.

       16.    Soon after the Department served the Casey CID on Ms. Casey, PPOA

raised—for the first time—a claim that Ms. Casey gave privileged legal advice during her

tenure at PPOA. On or around May 6, 2020, for example, PPOA asserted that Ms. Casey

had given legal advice concerning draft employment contracts and whether contractual

provisions complied with federal law. See Ex. 1 at CID109. PPOA asked to attend Ms.

Casey’s CID examination as a means to safeguard such information. Id.

       17.    Despite PPOA’s claims that Ms. Casey had given privileged legal advice on

employment contracts and legal compliance, PPOA did not immediately ask the Department

to return any of the documents that it had previously produced, including email

communications from Ms. Casey conveying the very same information that PPOA contended

was privileged. For example, PPOA did not initially request to claw back any emails between

Ms. Casey and PPOA personnel that discussed draft language in physician employment

contracts and compliance with federal law. Ex. 1 at CID109. Nor did PPOA request to claw

back draft employment contracts that Ms. Casey circulated to company personnel as part of

internal discussions. Id.

       18.    The Department conferred with PPOA regarding its new privilege assertion.

Ex. 1 at CID109. On July 2, 2020, for example, the Department asked PPOA to explain why

Ms. Casey’s involvement in the drafting of employment contracts would have constituted

privileged legal advice, as opposed to the sort of non-legal advice customarily provided by

human resources professionals. Ex. 1 at CID072-073. The Department asked PPOA to “be


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as specific as possible” in describing the circumstances in which Ms. Casey provided legal

advice, by identifying the particular matters on which she worked as an attorney and the

particular individuals with whom she interfaced on each matter. Ex. 1 at CID073.

       19.    PPOA failed to provide the information that the Department had requested.

Instead, on July 14, 2020, PPOA made a blanket assertion of privilege, contending that Ms.

Casey had generally given privileged legal advice because she had a law license during the

time she worked at PPOA. Ex. 1 at CID074. In addition, PPOA broadly claimed that Ms.

Casey had fielded (unspecified) healthcare compliance questions that “necessarily involved

the review and interpretation of laws and regulations,” including (unspecified) questions from

(unspecified) new hires about (unspecified) physician contracts. Ex. 1 at CID074-075.

       20.    On July 17, 2020, the Department responded to PPOA’s blanket assertions by

once again asking PPOA to identify the particular matters on which Ms. Casey provided legal

advice and the particular individuals to whom she provided it. Ex. 1 at CID076. The

Department further noted in its letter that PPOA had previously produced documents

containing the very same information over which it now asserted privilege. Ex. 1 at CID078. In

addition, the Department noted that when Ms. Casey left PPOA, PPOA had hired a non-

attorney human resource professional to give the very same sort of “legal compliance”

guidance that PPOA claimed was privileged when given by Ms. Casey. Ex. 1 at CID077; see

also Ex. 1 at CID106 (official biography of Crystal Winkler, a non-attorney who led PPOA’s

human resource department after Ms. Casey’s departure, stating that she handled “all areas

of HR including … legal compliance … [and] compensation”) (emphasis added). In its response,

PPOA continued to rely on blanket assertions of privilege. See, e.g., Ex. 1 at CID082.




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PPOA’s Delinquent Claw-Back Requests

      21.    On July 28, 2020—almost two years after PPOA had produced emails and other

documents pursuant to the PPOA CID, and several months after first claiming that Ms. Casey

had provided privileged legal advice—PPOA sent a letter requesting to claw back one

document from its productions under the PPOA CID. Specifically, PPOA sought to claw

back “an email chain, in which Terri Casey modifie[d] the legal language of a PPOA

employment contract provision.” Ex. 1 at CID082. PPOA claimed that this document

reflected “the giving of legal advice by Ms. Casey to PPOA.” Id. PPOA did not identify the

purportedly privileged document by Bates-number or provide an updated privilege log.

Instead, PPOA attached the document as an exhibit to its letter to the Government, thereby

forcing the Government to read the purportedly privileged document to respond to PPOA’s

request. See Ex. 2 at CID201-202.

      22.    Upon receiving PPOA’s delinquent claw-back request, the Department asked

PPOA to confirm that “there [we]re no additional documents that PPOA wishe[d] to claw

back on the basis of the attorney-client privilege or work-product protection.” Ex. 1 at

CID084.

      23.    On August 24, 2020, PPOA responded by requesting to claw back six

additional documents. Ex. 1 at CID086.

      24.    To evaluate the merits of PPOA’s claw-back requests, including whether there

had been a waiver, the Department sought additional information about “what steps, if any,

PPOA took to protect against the production of allegedly privileged documents in response

to the Department’s [PPOA CID]” and the legal basis for PPOA’s requests. Ex. 1 at CID087.




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       25.    In its response, PPOA explained that the only steps it had taken to prevent the

production of privileged documents under the PPOA CID was to review emails “for any

communication with outside counsel.” Ex. 1 at CID090. In other words, PPOA apparently

did not identify Ms. Casey as an attorney or review her emails for privilege before producing

them. Id. PPOA further confirmed that it did not intend to assert privilege over any

documents other than the one document identified in its July 28 letter and the six additional

documents identified in its August 24 letter. Id.

       26.    By letter dated November 30, 2020, the Department denied PPOA’s claw-back

requests. Ex. 1 at CID092-094.

Examination Questions, Instructions, and Acceptance of Instructions

       27.    After denying PPOA’s claw-back requests, the Department suggested two

options for resolving the parties’ dispute regarding Ms. Casey’s pending CID testimony, given

that PPOA’s counsel did not represent Ms. Casey and would not be present at her

examination. First, the Department offered to allow time for PPOA to file a miscellaneous

action to limit the topics that the Department discussed at Ms. Casey’s CID examination and

the documents on which the Department questioned Ms. Casey.             Second, and in the

alternative, the Department offered to circulate a non-exhaustive list of written examination

questions—to both Ms. Casey and PPOA—before Ms. Casey sat for oral testimony. These

questions would capture the subject matter of PPOA’s claimed privilege, so that PPOA could

give representative privilege instructions and the Department could petition the Court to

resolve them. Ex. 1 at CID094. By doing this, the Department could avoid wasting the time

and resources of having to schedule a CID examination, only to have Ms. Casey’s attorney

give privilege instructions based on PPOA’s assertions, and then be forced to schedule the


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examination all over again if the Court decided in the Government’s favor.6 PPOA accepted

the Department’s offer to provide examination questions and then lodge written objections.

Ex. 1 at CID095.

       28.       On January 13, 2021, the Department provided to Ms. Casey and PPOA a non-

exhaustive list of written questions. Ex. 1 at CID097-100. These questions required Ms.

Casey to testify about:

             •   the circumstances of her retention as Senior Vice President of Human
                 Resources and Compliance (Questions 1-2);

             •   discussions with other PPOA employees about physician employment
                 contracts (Questions 3-9);

             •   emails that Ms. Casey sent to other PPOA employees about draft employment
                 contracts that PPOA had not sought to claw back (Questions 10-11);

             •   an email that Ms. Casey sent to other PPOA employees about a draft
                 employment contract that PPOA had sought to claw back (Question 12);

             •   discussions about other contracts and contractual provisions (Questions 13-14);
                 and

             •   Ms. Casey’s views on PPOA’s compliance with various laws and regulations,
                 including the Stark Law, as related to PPOA’s employment contracts
                 (Questions 15-18).

Ex. 1 at CID097-100.

       29.       On January 19, 2021, PPOA instructed Ms. Casey not to answer certain of the

Department’s written questions—concerning “employment contracts and related issues”—on

the basis of attorney-client privilege. Ex. 1 at CID101. However, PPOA did not instruct Ms.

Casey to withhold answers to all of the Department’s questions related to contractual


       6
         This would also avoid a situation in which Ms. Casey’s counsel endeavored give
good faith privilege instructions on PPOA’s behalf, but was unfamiliar with the contours of
PPOA’s assertions.

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modifications or legal compliance. For example, PPOA failed to instruct Ms. Casey not to

answer questions requiring her to testify about draft contractual language and documents that

PPOA contended were privileged. See, e.g., Ex. 1 at CID099 (Question 12a) (“Why did you

propose to change the language reflected here?”) (discussing a document over which PPOA

asserted privilege).   PPOA also failed to instruct Ms. Casey not to answer a question

requesting her views on PPOA’s compliance with the Stark Law:

               Do you recall any instances, based solely on your opinion as a
               human resources professional with responsibility over
               employment contracts (not on any conversations with PPOA’s
               outside counsel), where you felt that PPOA’s employment
               contracts failed to comply with the Stark Law?

Ex. 1 at CID100 (Question 18), CID101 (PPOA objections to Questions 18a and 18b only).

       30.     On January 21, 2021, Ms. Casey’s attorney confirmed that Ms. Casey would

accept PPOA’s privilege instructions. Ex. 1 at CID103.

                MEMORANDUM OF LAW IN SUPPORT OF PETITION

I.     The PPOA and Casey CIDs Were Properly Issued

       Federal agencies possess an almost unfettered power of original inquiry, which they

often exercise through the issuance of administrative subpoenas. See, e.g., United States v. Fla.

Azalea Specialists, 19 F.3d 620, 622-23 (11th Cir. 1994) (noting that administrative agencies

have “a power of inquisition … analogous to the Grand Jury, which does not depend on a

case or controversy for power to get evidence but can investigate merely on suspicion that the

law is being violated, or even just because it wants assurance that it is not”) (quoting United

States v. Morton Salt Co., 338 U.S. 632, 642-43 (1950) (“Morton Salt”)).

       “[T]he role of a district court in a proceeding to enforce an administrative subpoena is

sharply limited[.]” Fla. Azalea Specialists, 19 F.3d at 623; see also FTC v. Texaco, Inc., 555 F.2d


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862, 871-72 (D.C. Cir. 1977). Indeed, the Eleventh Circuit follows the seminal standard first

articulated by the Supreme Court in Morton Salt, 338 U.S. at 652, which provides that “an

administrative subpoena should be enforced ‘if the inquiry is within the authority of the

agency, the demand is not too indefinite and the information sought is reasonably relevant.’”

Fla. Azalea Specialists, 19 F.3d at 623 (citations omitted); see also United States ex rel. Silva v. VIVI

Marketing, LLC, No. 8:15-cv-444-T-33TGW, 2020 WL 1677335, at *2 (M.D. Fla. Apr. 6,

2020) (same); cf. In re McVane, 44 F.3d 1127, 1135 (2d Cir. 1995) (noting that the Morton Salt

standard, “with minor linguistic variations, has become the accepted test for judicial

enforcement of administrative subpoenas”) (citations omitted).

        CIDs for testimony under the FCA are enforced as administrative subpoenas. See, e.g.,

United States v. Picetti, No. 2:19-cv-00049, 2019 WL 1895057, at *2 (E.D. Cal. Apr. 29, 2019)

(finding that “CIDs are enforced as administrative subpoenas”); United States v. Markwood, 48

F.3d 969, 976 (6th Cir. 1995) (same); Silva, 2020 WL 1677335, at *2 (same). In enforcing

FCA CIDs, courts employ derivations of the Morton Salt standard. See, e.g., Picetti, 2019 WL

1895057, at *2 (framing standard as whether Congress granted authority to investigate, the

proper procedural requirements were followed, and whether the evidence is relevant and

material to the investigation); Markwood, 48 F.3d 969, 976, 980 (6th Cir. 1995) (finding that

“the requirement for definiteness for production of documents” did not make sense in the

context of a CID for testimony).

        Here, the Department clearly satisfies the minimal criteria for enforcement. For

example, no party has ever contested that the subject matter of Ms. Casey’s pending

examination, including PPOA’s hiring and compensation of physicians, is within the

authority of the Department to investigate. Cf. Picetti, 2019 WL 1895057, at *4 (finding that


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the submission of false claims, and potential violations of the AKS and Stark Law, are within

the Department’s authority to investigate). Nor does any party contest that the FCA expressly

authorizes the Department to obtain this information through CID testimony. Cf. 31 U.S.C.

§ 3733(a)(1)(C) (“the Attorney General may … issue in writing a civil investigative demand

requiring such person … to give oral testimony concerning such documentary material or

information” that was produced).

       Similarly, the Department’s anticipated inquiry under the Casey CID is reasonably

relevant, which, in the context of an investigation, requires only that the CID is “‘not plainly

incompetent or irrelevant to any lawful purpose’ of the agency.” Cf. E.E.O.C. v. Kloster Cruise,

Ltd., 939 F.2d 920, 922-23 (11th Cir. 1991) (citations omitted); see also Endicott Johnson Corp.

v. Perkins, 317 U.S. 501, 509 (1943); United States v. Golden Valley Elec. Ass’n, 689 F.3d 1108,

1113-14 (9th Cir. 2012) (“Relevancy is determined in terms of the investigation rather than in

terms of evidentiary evidence. …The information subpoenaed need only be relevant to the

agency investigation.”). The Department is investigating whether PPOA submitted false

claims to federal healthcare programs that were tainted by financial transactions that violated

the AKS and Stark Law. Testimony about how physicians were hired and compensated, and

what individuals at PPOA knew about both, falls squarely within the responsible discharge

of the Department’s statutory duty to investigate these allegations.7


       7
         The third Morton Salt requirement, that requests not be indefinite, applies only to
CIDs seeking the production documents, not to CIDs seeking oral testimony. See, e.g.,
Markwood, 48 F.3d at 980 (finding that because “Markwood is now only resisting the United
States’ ability to retain information from his oral deposition ... we need not determine whether
the United States’ demand met the requirement of definiteness for production of
documents”); 31 U.S.C. § 3733(a)(2)(B)(i) (providing that only “[i]f the demand is for the
production of documentary material,” the Department shall describe the class of material to
be produced “with such definiteness and certainty as to permit such material to be fairly
identified”) (emphasis added). That notwithstanding, the United States has previously
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       No party has alleged that the Casey CID was improperly authorized or served, much

less filed a petition to modify the CID or set it aside. Cf. 31 U.S.C. § 3733(j)(2)(A). In fact,

Ms. Casey is willing to testify. As a result, the only basis on which PPOA can preclude an

order granting the Petition—and compelling Ms. Casey to answer questions about contract

modifications, employee hiring and compensation, and legal compliance issues related to

both—is by establishing that PPOA has a valid and applicable claim of privilege over that

information.

II.    PPOA’s Attorney-Client Privilege Assertions are Meritless

       This Court should enforce the Casey CID over PPOA’s assertions for two reasons.

First, PPOA has not met its burden to establish that the information it seeks to protect—Ms.

Casey’s involvement in “the modification of pertinent terms in PPOA employment contracts

for medical providers” (Ex. 1 at CID082)—is privileged. Second, even if that information was

privileged, PPOA waived its privilege by producing documents and failing to instruct Ms.

Casey not to answer questions concerning the same information.

       A.      PPOA Has Failed to Establish a Privilege Over the Information

       “The federal law of privilege applies to all claims in a federal question case.” Knights

Armament Co. v. Optical Sys. Tech., Inc., No. 2009 WL 331608, at *2 (M.D. Fla. Feb. 10, 2009)

(citing Hancock v. Hobbs, 967 F.2d 462, 467 (11th Cir. 1992)); see also Fed. R. Evid. 501.

Federal law therefore governs privilege assertions in FCA cases, which arise from federal

statute. See, e.g., United States v. HCA Holdings Inc., No. 12-cv-20638, 2015 WL 11198933, at




specified that it seeks Ms. Casey’s testimony on issues including “PPOA’s billing practices,
agreements with physicians, participation in recommending or reviewing compensation for
services, procedures, treatments, or testing, and general familiarity with the structure and
policies of PPOA and its affiliated entities.” Ex. 1 at CID003.
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*3 (S.D. Fla. July 21, 2015) (finding that, in an FCA case, “t[he] Court’s jurisdiction is based

on a federal question; thus, federal common law governs [any] privilege dispute”); cf. 31

U.S.C. § 3733(j)(1) (giving district courts the power to adjudicate FCA CID proceedings).

       Under federal law, the attorney-client privilege is construed “narrowly.” United States

v. Suarez, 820 F.2d 1158, 1160 (11th Cir. 1987); see also Fisher v. United States, 425 U.S. 391,

403 (1976) (“[S]ince the privilege has the effect of withholding relevant information from the

fact finder, it applies only where necessary to achieve its purpose.”). In the context of federal

investigations, in particular, “courts have indicated that the privilege should be granted

cautiously,” Equal Employment Opportunity Comm’n, 876 F.3d 690, 695-96 (5th Cir. 2017)

(citations omitted), “given the ‘congressional policy choice in favor of disclosure of all

information relevant to a legitimate [federal] inquiry,’” Cavallaro v. United States, 284 F.3d 236,

245-46 (1st Cir. 2002) (quoting United States v. Arthur Young & Co., 465 U.S. 805, 816 (1984)

(emphasis in original)).

       The burden to establish the attorney-client privilege falls squarely upon the proponent

of the privilege, which must show “that an attorney-client relationship existed and that the

particular communications were confidential.” United States v. Schaltenbrand, 930 F.2d 1554,

1562 (11th Cir. 1962). This showing must generally include proof that:

               (1) the asserted holder of the privilege is or sought to become a
               client; (2) the person to whom the communication was made (a)
               is [the] member of a bar of a court, or his subordinate and (b) in
               connection with this communication is acting as a lawyer; (3) the
               communication relates to a fact of which the attorney was
               informed (a) by his client (b) without the presence of strangers (c)
               for the purpose of securing primarily either (i) an opinion on law
               or (ii) legal services or (iii) assistance in some legal proceeding,
               and (d) not for the purpose of committing a crime or tort; and (4)
               the privilege has been (a) claimed and (b) not waived by the
               client.


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Knights Armament Co., 2009 WL 331608, at *2 (citing In re Grand Jury Proceedings 88-9(MIA),

899 F.2d 1039, 1042 (11th Cir. 1990)).

       The party asserting privilege bears the “heavy burden” of meeting each of these

elements. In re Grand Jury Subpoenas Dated Mar. 19, 2002 and Aug. 2, 2002, 318 F.3d 379, 384

(2d Cir. 2003) (quoting United States v. Nixon, 418 U.S. 683, 710 (1974)). This heavy burden

cannot be met through “conclusory” declarations “simply describing a lawyer’s advice as

‘legal.’” Equal Employment Opportunity Comm’n, 876 F.3d 690, 695-96 (5th Cir. 2017) (citing

United States v. Chen, 99 F.3d 1495, 1502 (9th Cir. 1996) (“Calling the lawyer’s advice ‘legal’

or ‘business’ advice does not help in reaching a conclusion; it is the conclusion.”)). To the

contrary, the Court’s inquiry into whether the proponent has met this burden is “highly fact-

specific.” Stoffels v. SBC Comm’ns, Inc., 263 F.R.D. 406, 411 (W.D. Tex. 2009) (citing United

States v. Kelly, 569 F.2d 928, 938 (5th Cir. 1978)). If the asserting party has not proven each

element in light of the facts, or the factual record is ambiguous as to any element, then the

asserting party has not established the privilege. See, e.g., United States v. Constr. Prods. Research,

Inc., 73 F.3d 464, 473-74 (2d Cir. 1996) (rejecting attorney-client and work product claims

where party failed to establish elements); Heublein, Inc. v. E&J Gallo Winery, Inc., No. 94-cv-

8155, 1995 WL 645438, at *2 (S.D.N.Y. Nov. 1, 1995) (“The burden of sustaining a claim of

privilege is on Heublein. Because the record is ambiguous, Heublein has not sustained its

burden.”) (citations omitted).

       Here, PPOA has unquestionably failed to meet its burden to establish that the

information about which the United States intends to question Ms. Casey is subject to the

attorney-client privilege. Instead, the overwhelming evidence shows that no privilege exists—




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or, at minimum, that there is substantial ambiguity as to the elements that PPOA is required

to prove.

       According to PPOA’s own employment agreement with Ms. Casey, for example, Ms.

Casey was employed exclusively as a human resources professional and charged to perform

work that was “customary” in her position as such. Ex. 1 at CID009, ¶ 3. During her tenure

at PPOA, Ms. Casey reported to PPOA’s Chief Financial Officer (CFO), not to any legal

officer or general counsel. See id. The CFO knew that Ms. Casey was employed as a human

resources professional because she signed Ms. Casey’s employment agreement. See Ex. 1 at

CID018. In a company-wide email, Ms. Casey was introduced as “Senior Vice President for

Compliance and Human Resources” (not as an attorney), and her role was described as

“overseeing [PPOA’s] compliance efforts” and “working with our managers and employees

to help make Physician Partners of America an even better place to work.” Ex. 1 at CID068-

069. The signature block of Ms. Casey’s internal emails to PPOA employees bore the title

“SVP HR & Compliance.” E.g., Ex. 1 at CID041; Ex. 2 at CID202. And when Ms. Casey

left PPOA, PPOA hired a non-attorney human resource professional to give the very same

sort of “legal compliance” guidance that PPOA claimed was privileged when Ms. Casey gave

it. Ex. 1 at CID077-078; see also Ex. 1 at CID106 (official biography of Crystal Winkler, a

non-attorney who led PPOA’s human resource department after Ms. Casey’s departure,

stating that she handled “all areas of HR including … legal compliance … [and] compensation”)

(emphasis added).

       Consistent with her non-attorney role at PPOA, the overwhelming evidence further

shows that Ms. Casey did not act as a lawyer or communicate with PPOA employees to

provide legal opinions or give legal advice. Not only has PPOA failed to identify any


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communications involving Ms. Casey on its privilege log (either with outside counsel or with

internal PPOA employees),8 but the documents that PPOA produced reflect that Ms. Casey

acted as a human resources employee who fulfilled a customary human resources roles related

to hiring, compensation, and the employee-employer relationship. See, e.g., Koumoulis v.

Indep. Fin. Mtkg. Grp., Inc., 295 F.R.D. 28, 45 (E.D.N.Y. 2013) (“A primary purpose of a

company’s human resources program is to ensure compliance with the myriad of laws

regulating employer-employee relations, such as the laws raised in this case… Despite its

legal content, human resources work, like other business activities with a regulatory flavor, is

part of the day-to-day operations of a business; it is not a privileged activity.”); see also Farnham

v. Riimic, LLC, No. 12-60153-CIV, 2012 WL 5187851, at *1 (S.D. Fla. Oct. 19, 2012) (“As

HR Manager, Farnham’s duties included … on-boarding of new employees … and

researching OSHA regulations and employee classifications under the Fair Labor Standards

Act to ensure [the company’s] compliance with those laws.”) (emphasis added). Just because Ms.

Casey performed this customary human resources function against the backdrop of laws and

regulations—which any human resources professional in her position, regardless of whether

they have a law degree, would be tasked to know—does not mean that she provided “legal

advice.”9 And, indeed, PPOA has produced no evidence, as the law requires, that it sought


       8
        See, e.g., Liz Claiborne, Inc. v. Mademoiselle Knitwear, Inc., No. 96-cv-2064, 1996 WL
668862, at *4 (S.D.N.Y. Nov. 19, 1996) (“Plaintiffs did not take the basis precaution of listing
[any of Ms. Casey’s documents] on a privilege log.”) (citing Baron Philippe de Rothschild v.
Paramount Distillers, Inc., No. 87-cv-6820, 1995 WL 86476, at *1 (S.D.N.Y. Mar. 1, 1995)).
       9
         Even if Ms. Casey had served as an attorney at PPOA, which she did not, it is unlikely
that her communications on the issues here would be subject to privilege. Not only is there
no presumption of privilege for communications with inside counsel, see, e.g., United States v.
Davita, Inc., 301 F.R.D. 676, 682 (N.D. Ga. 2014), but inside counsel often give business
advice that “gives rise to no privilege whatsoever,” Colton v. United States, 306 F.2d 633, 638
(2d Cir. 1962); see also Adams & Assocs., Inc. v. Nat’l Labor Relations Bd., 871 F.3d 358, 370 n.3
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any sort of opinion from Ms. Casey that would have required her to opine primarily as an

attorney, rather than as a human resources professional.

       While PPOA conjectures that the guidance Ms. Casey provided somehow “exceeded

the standard human resources function,” Ex. 1 at CID086, it fails to explain how. And, in

fact, the areas that PPOA does identify, including the modification of contract terms for legal

compliance, were tasks that were also handled by non-attorney human resource personnel at

PPOA. See, e.g., Ex. 1 at CID106 (PPOA website biograph of Crystal Winkler, noting that

she worked on issues of “legal compliance.”); Ex. 1 at CID022 (email from Don Haight

proposing draft language).10    Certainly, “[Ms. Casey’s] status as an attorney does not

transform what would otherwise be human resources and business communications into legal

communications.” Koumoulis, 295 F.R.D. at 45. Nor does the fact that PPOA may have

placed more stock in Ms. Casey’s opinion, by virtue of her law degree, transform her human

resources opinion into one of law.

       Indeed, perhaps the most telling evidence that Ms. Casey did not have an attorney-

client relationship with PPOA, through which she provided legal advice, is that PPOA did

not think to review Ms. Casey’s emails before producing them. See supra ¶ 25. It was only




(5th Cir. 2017) (finding that even when a licensed attorney “ha[d] a dual role as … senior HR
executive and General Counsel,” which Ms. Casey did not, information “pertain[ing]
principally to human resources and labor relations” did not qualify as legal advice). Such
business advice would naturally extend to the on-boarding and compensation of physicians
in the normal course of business.
       10
          Presumably realizing that Ms. Casey’s work was similar to the work of other human
resources personnel, PPOA attempts to minimize the role of those other employees by
suggesting that guidance they provide is limited to things like “whether a person deserved a
signing bonus.” Ex. 1 at CID085. This self-serving portrayal was contradicted by PPOA’s
own website, which, again, noted that non-attorney human resources personnel handled
issues of “legal compliance.” Ex. 1 at CID106.
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when the Department sought to interview Ms. Casey that PPOA first asserted that she had

acted as an attorney. Put simply, there is no factual record—much less an unambiguous

one—sufficient to find that PPOA has carried its burden to establish privilege over the

information at issue.

       B.      PPOA Has Waived Any Privilege Claim

       Even assuming, arguendo, that Ms. Casey’s communications with PPOA personnel

were privileged when they occurred, there can be no genuine dispute that PPOA waived this

privilege by producing to the United States documents containing the same or similar

information, see supra ¶ 12, and by failing to object to written examination questions calling

for the same or similar information, see supra ¶ 29. This waiver applies to both the documents

that PPOA produced and the subject matter at issue in Ms. Casey’s oral CID examination.

               1.       PPOA’s Disclosures Effected a Waiver

       PPOA’s production operates as a waiver as to the information disclosed if its

production was not inadvertent, or it failed to take reasonable steps to prevent disclosure, or it

failed to promptly take reasonable steps to rectify the disclosure. Fed. R. Evid. 502(b); see also

Walker v. GEICO Indem. Co., No. 6:15-cv-1002, 2016 WL 11578803, at *6 (M.D. Fla. July 11,

2016). As “[t]he disclosing party,” PPOA “bears the burden of proving that the elements of

Rule 502(b) have been met.” Walker, 2016 WL 11578803, at *6. PPOA cannot plausibly

meet this burden, as none of Rule 502(b) factors weighs in its favor here.

       First, PPOA’s production was not inadvertent. Even though it now claims that Ms.

Casey provided legal advice, for example, PPOA deliberately produced communications

between Ms. Casey and others at PPOA without reviewing them for privilege. See supra ¶ 25;

Ex. 1 at CID090. Such productions qualify as advertent. See, e.g., JAWHBS, LLC v. Arevalo,


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224 F. Supp. 3d 1296, 1301 (S.D. Fla. 2016) (advertence when attorney identified particular

classes or types documents, and then produced them); Callan v. Christian Audigier, Inc., 263

F.R.D. 564, 566 (C.D. Cal. 2009) (“[D]efendants [did not show that they] reviewed the

allegedly privileged documents before producing them to plaintiff or what precautions they

took to prevent disclosure of [the] allegedly privilege documents to plaintiff; thus, defendants

have not shown their production of any document was ‘inadvertent.’”) (citations omitted).

       PPOA does not deny that it knew exactly what it produced in November 2018,

including internal emails from Ms. Casey. Nor does PPOA contest that it produced those

sorts of documents on purpose. Instead, PPOA’s only defense is that it did not realize that

the information was subject to a claim of privilege at the time it was advertently produced.

See Ex. 1 at CID090-091 (noting that, after producing Ms. Casey’s emails, “our understanding

of the facts broadened, and we asserted privilege”). In other words, it is not that PPOA

produced the documents inadvertently, but that PPOA failed to perform the due diligence

required to know that the documents it had advertently produced were potentially subject to a

claim of privilege. While this argument should put to bed any suggestion that PPOA

exercised reasonable diligence to protect its privilege, as discussed below, it has no bearing on

the advertence of PPOA’s productions. An “advertent” production does not transform into

an “inadvertent” one because the producing party could not decide which privileges to assert

before putting documents in the mail.

       PPOA’s instructions to Ms. Casey not to answer certain examination questions only

underscore the advertence of its document disclosures. Even though PPOA asserted privilege

over certain documents, for example, it failed to instruct Ms. Casey not to answer questions

that would have required her to opine on those very documents. See supra ¶ 29. In addition,


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PPOA failed to instruct Ms. Casey not to answer a question that expressly required her to

elaborate on whether she “felt that PPOA’s employment contracts failed to comply with the

Stark Law[.]” Id. (quoting CID100). PPOA cannot hold its tongue when Ms. Casey is asked

to opine on written communications or legal compliance matters over which PPOA asserts

privilege and still retain a colorable privilege over this information.

       Second, for similar reasons, PPOA can hardly have been said to have taken reasonable

steps to prevent disclosure. For example, PPOA did not seek a claw-back agreement before

producing the documents. See, e.g., Sec. & Exch. Comm’n v. Badian, No. 06-cv-2621, 2009 WL

222783, at *3 (S.D.N.Y. Jan. 26, 2009) (“I have been shown no evidence that Rhino or Bryan

Cave LLP took any precautions to weed out potentially privileged documents….

[Respondent did] not engag[e] in any debate about privilege, let alone ask[] the SEC to

commit to a ‘claw-back’ agreement.”).11 Then, despite not having any applicable claw-back

protection in place and knowing that Ms. Casey’s emails were among the documents

produced, PPOA declined to review the contents of those communications for the very

privilege that it would later assert.12 This is sufficient for a waiver. See The Navajo Nation v.




       11
          A claw-back could have conceivably provided PPOA with some measure of
assurance when it failed to conduct a comprehensive privilege review. Cf. Rule 502(d)
advisory comm. notes (citing Zubulake v. UBS Warburg LLC, 216 F.R.D. 280, 290 (S.D.N.Y.
2003), for the proposition that claw-back agreements can limit privilege reviews).
       12
           PPOA’s failure to review these emails is particularly egregious, not only in light of
its subsequent privilege assertions over the emails, but the fact that at the bottom of her emails,
Ms. Casey included stock language stating that each email was covered by the Electronic
Communications Privacy Act and “may be protected under the Attorney/Client privilege.”
See, e.g., Ex. 1 at CID042; Ex. 2 at CID202. While the inclusion of this language obviously
does not transform Ms. Casey’s human resources advice into legal advice, particularly since
PPOA has not even asserted privilege over some of the emails in which the stock language
appears (e.g., Ex. 1 at CID042), it nevertheless eviscerates any suggestion that PPOA reviewed
the emails with any degree of care—much less took reasonable steps to protect the privileges
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Peabody Holding Co., 255 F.R.D. 37, 46 (D.D.C. 2009) (“Had the Navajo reviewed these

productions … the[y] would have known that the Hopi inadvertently provided Defendants

with the Navajo’s privileged documents. This knowing, self-inflicted blindness is further

evidence that the Navajo failed to treat its privileged material like ‘crown jewels.’”) (citations

omitted).   PPOA failed to do this even though the volume of produced emails was

comparatively small, and even though PPOA was permitted a generous amount of time—five

months after receiving the CID—to make its productions. These factors are also sufficient for

a waiver. See, e.g., Ciba-Geigy Corp. v. Sandoz Ltd., 916 F. Supp. 404, 413 (D.N.J. 1995) (“[T]he

Court finds that counsel failed to establish that it undertook reasonable steps to prevent the

inadvertent disclosure of the … document, given the small size of the production at issue, the

lack of time constraints, and counsel’s inexcusable neglect, on two occasions, to conduct a

privilege review prior to production.”).

       On top of that, despite being presented with written questions that the Department

planned to ask Ms. Casey at her CID examination, and having several days to read and digest

those questions, and then assert privilege instructions in response to them, PPOA failed to

instruct Ms. Casey not to answer questions requiring her to opine on ostensibly privileged

language reflected in a document that PPOA had requested to claw back, in addition to her

views on whether PPOA was compliant with the Stark Law. See supra ¶ 29. This failure to

object, under the circumstances and in the height of a privilege dispute, can hardly be

characterized as a reasonable step to avoid disclosure.




it would later assert. Had PPOA simply searched its productions for the word “privilege,”
for example, it would have uncovered these documents.

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       Third, PPOA failed to promptly rectify the issue. To the contrary, nearly two years

elapsed before PPOA sought to claw back any documents related to Ms. Casey—a time period

that is itself sufficient to demonstrate a lack of reasonable promptness. See Navajo Nation, 255

F.R.D. at 46 (“[T]he Navajo waited two years after [disclosure] … before bringing a Motion

for Protective Order.”) (emphasis added). This is despite the fact that, during this time, PPOA

was notified that the Department intended to depose Ms. Casey. And yet, months passed

before PPOA went back and reviewed any of her produced emails. Indeed, PPOA did not

appear to review those emails until the Department mentioned their production in a letter to

PPOA. See Ex. 1 at CID078, CID093. And even then, PPOA waited until August 24, 2020,

more than five weeks later, before requesting to claw back six of the seven documents at issue,

despite the fact that the documents should have been easily searchable by Ms. Casey’s name.

See, e.g., Badian, 2009 WL 222783, at *6 (finding that even waiting “12 days” was careless);

see also LaSalle Bank Nat’l Ass’n v. Merrill Lynch Mortg. Lending, Inc., No. 04-cv-5452, 2007 WL

2324292, at *5 (S.D.N.Y. Aug. 13, 2007) (privileged waived where counsel objected to email

as privileged during deposition, but waited one month to ask for its return); Liz Claiborne, Inc.,

1996 WL 668862, at *5 (privileged waived where party waited one month after disclosure to

request return of document).

       PPOA appeared to dismiss the delay in clawing back the six additional documents on

the basis that those documents were simply additional copies or variations of the document

that PPOA had initially requested to claw-back on July 28. Ex. 1 at CID086. This is not

entirely accurate, as several of the documents that PPOA sought to claw back on August 24

contained additional communications not reflected in the July 28 document. Compare, e.g.,

Ex. 2 at CID201, with Ex. 2 at CID211. In addition, language similar to that reflected in the


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six documents also appears in other documents that PPOA did not request to claw back.

Compare, e.g., Ex. 2 at CID203, with Ex. 1 at CID021. And attached to some of the documents

that PPOA failed to claw back were draft employment contracts that were not attached to the

documents that PPOA had requested to claw back. See, e.g., Ex. 1 at CID021, CID041. It is

well-established that such selective disclosures—and, by extension, selective claw-back

requests—are insufficient to protect an asserted privilege. See, e.g., Nguyen v. Excel Corp., 197

F.3d 200, 207 (5th Cir. 1999) (defendant “waived the attorney-client privilege by selectively

disclosing confidential communications”) (cited in the Rule 502 advisory comm. notes); Int’l

Tel. & Tel. Corp. v. United Tel. Co. of Fla., 60 F.R.D. 177, 185 (M.D. Fla. 1973) (noting that “a

party may not insist upon protection of the privilege for damaging communications while

disclosing other selected communications”).

       Finally, after failing to act promptly in clawing documents back, PPOA refused to

object to examination questions asking Ms. Casey to opine on certain of the documents. This,

too, was unreasonable, particularly since PPOA had several days to ruminate on the

Department’s written questions before lodging its written objections. See, e.g., Luna Gaming-

San Diego, LLC v. Dorsey & Whitney, LLP, 06-cv-2804, 2010 WL 275083, at *5 (S.D. Cal. Jan.

13, 2010) (“[I]f a privileged document is used at a deposition, and the privilege holder fails to

object immediately, the privilege is waived. …Failing to stop responses to questions at a

deposition also waives the privilege.”) (citations omitted and emphasis added).

       There is, quite simply, no doubt that PPOA’s conduct effected a waiver. While PPOA

must prove that all of the Rule 502(b) factors supports its privilege, the uncontroverted record

shows that each factor instead weighs in favor of the United States. The United States contends

that this waiver clearly extends to all of the documents and information that PPOA disclosed


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and failed to instruct Ms. Casey not to provide—even assuming, arguendo, that the

information was privileged in the first instance.

               2.      The Scope of the Waiver Extends to All Other Material at Issue

       Just as there is little doubt that PPOA’s conduct effected a waiver over Ms. Casey’s

communications with other PPOA employees regarding contract modifications, including the

seven documents it now seeks to claw back, there is little doubt that the scope of its waiver

extends to the entire subject matter at issue in the Department’s proposed CID examination

of Ms. Casey. Under the Federal Rules, a waiver over disclosed information extends to

undisclosed information if the waiver is intentional, the disclosed and undisclosed

information concerns the same subject matter, and the material ought in fairness be

considered together. Fed. R. Evid. 502(a). Each of these factors weight against PPOA here.

       First, and for the reasons mentioned in Part II.B.1 above, PPOA’s waiver was

intentional. Not only did PPOA purposely produce documents from Ms. Casey—reflecting

guidance that she communicated about contract modifications, physician compensation, and

issues of legal compliance related to both—PPOA also failed to object to written examination

questions that required Ms. Casey to opine on purportedly privileged documents, in addition

to her views on PPOA’s compliance with the Stark Law. See supra ¶¶ 25, 29. By doing this,

PPOA intentionally forfeited its privilege over the information that Ms. Casey had been asked

to provide. See United States v. Gurtner, 474 F.2d 297, 299 (9th Cir. 1973) (“[T]he failure to

assert the privilege when the evidence is first presented constituted a voluntary waiver of right.”)

(emphasis added); Luna Gaming-San Diego, LLC, 2010 WL 275083, at *5 (finding that “the

failure to specifically object to the document and permit questioning regarding its substance




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waived the privilege”); see also United States v. Swann, 486 F.3d 260, 265 (7th Cir. 2007) (“[T]he

privilege is forfeited if the party fails to make a timely objection at trial.”).

       This intentional nature of PPOA’s waiver is significant. PPOA cannot deliberately

produce written communications between Ms. Casey and other PPOA employees, and then

permit the Department to question Ms. Casey about certain aspects of communications over

which it asserts privilege, without placing at issue other aspects of those communications that

it withheld. See, e.g., Mohawk Indus., Inc. v. Interface, Inc., No. 4:07-cv-0212, 2008 WL 5210386,

at *12 (N.D. Ga. Sept. 29, 2008) (finding that “a waiver of the attorney-client privilege occurs

when a party … testifies as to [privileged] communications”) (emphasis added). Nor can PPOA

deliberately permit the Department to elicit Ms. Casey’s views on PPOA’s Stark Law

compliance, thereby authorizing Ms. Casey to testify about her mental impressions on

whether PPOA was compliant or noncompliant (and any follow-up questions as to why),

without deliberately placing this very compliance at issue. See, e.g., Barker ex rel. v. Columbus

Reg’l Healthcare Sys., Inc., No. 4:12-cv-108, 2014 WL 4287744, at *3 (M.D. Ga. Aug. 29, 2014)

(“Thus, Columbus Regional injected its belief as to the lawfulness of its conduct into this case

and waived its attorney-client privilege as to communications relating to the legality of the

transactions that form the basis of Plaintiff’s claims.”) (citing Cox v. Adm’r U.S. Steel & Carnegie,

17 F.3d 1386, 1419 (11th Cir. 1994)); see also United States v. Bilzerian, 926 F.2d 1285 (2d Cir.

1991) (finding that “testimony that [defendant] thought his actions were legal would have put

his knowledge of the law and the basis for his understanding of what the law required in issue”

and that “conversations with counsel regarding the legality of his schemes would have been

directly relevant to determining the extent of his knowledge”).               To the contrary, by

intentionally—and selectively—producing documents and permitting the Department to


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question Ms. Casey about certain communications and compliance matters over which

PPOA asserts privilege, and thereby releasing this information into the investigative record,

PPOA has, by definition, placed at issue its purportedly privileged material. This necessarily

waives any privileges or protections it can assert over undisclosed material of the same subject

matter, as the Department must be permitted to consider the disclosed material in context.

       Second, and to state the obvious, the disclosed communications and information

concern the same subject matter that the Department intends to probe during Ms. Casey’s

CID. PPOA has made imprecise, blanket assertions of privilege over the “modifications of

pertinent terms in PPOA employment contracts for medical providers” (Ex. 1 at CID082);

“legal language and pertinent terms of contracts” (Ex. 1 at CID086); and “the content of her

communications with PPOA officials regarding employment contracts and related issues”

(Ex. 1 at CID101). This is the subject matter of the relevant documents that PPOA requested

to claw back. E.g., Ex. 1 at CID201. It is the subject matter of the relevant documents that

PPOA did not seek to claw back. E.g., Ex. 1 at CID041. And it is the subject matter of both

the relevant questions that PPOA instructed Ms. Casey not to answer and the relevant

questions that PPOA did not. See supra ¶ 29; see also Ex. 1 at CID097-101 (questions and

instructions). Given the nature of PPOA’s privilege assertions, and the scope of Ms. Casey’s

potential answers to questions to which PPOA failed to object, this is not a close call.

       Third, the material ought in fairness be considered together. Put simply, it is not fair

for PPOA to produce some documents and permit some testimony on some issues of

compensation, hiring, and compliance that may benefit PPOA, while seeking to withhold

documents and testimony on other issues, of the exact same subject matter, that may not. Cf.

Chick-fil-A v. ExxonMobil Corp., No. 8-cv-61422, 2009 WL 3763032, at *5 (S.D. Fla. Nov. 10,


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2009) (in the context of work-product) (“The Court finds that it would be unfair to permit

Exxon to produce work product supporting its contention … while at the same time

withholding other Exxon work product documents (if any) that may undermine this

contention.”). PPOA cannot fail to “zealously protect[] the information contained in” its

documents, or in Ms. Casey’s answers to un-objected to examination questions, Banneker

Ventures, LLC v. Graham, 253 F. Supp. 3d 64, 74 (D.D.C. 2017), and then expect the United

States, after relying on the information that PPOA provided, to discard the information and

proceed anew with only the information that PPOA would like the Department to have.

Moreover, basic fairness dictates that the Department should not be forced to proceed with

one arm tied behind its back when deposing Ms. Casey—or any other PPOA employees—

about the type of relevant information that PPOA carelessly failed to protect. Cf. Doe 1 v.

Baylor Univ., 320 F.R.D. 430, 439-40 & n.5 (W.D. Tex. 2017) (“[T]he Court asks … ‘Would

it be fair to allow Baylor to protect the remaining undisclosed details regarding the Pepper

Hamilton investigation when it intentionally, publicly, and selectively released certain details

of the investigation, including attorney-client communications?’ The Court concludes, with

respect to materials covered by the attorney-client privilege, that it would not.”).

       To be clear, the United States does not seek a waiver that encompasses every

communication that PPOA’s personnel had on legal issues, or every single instance in which

legal advice was arguably rendered (e.g., discussions with outside counsel regarding potential

liability under the FCA). At the same time, and especially in light of the circumstances here,

the Department should not be required to question Ms. Casey in a straight-jacket or make

investigative and charging decisions based on piecemeal information that PPOA selected for

disclosure. The Department should instead be permitted to use the documents that PPOA


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has produced and the information it has permitted Ms. Casey to disclose, and to question Ms.

Casey both about that information and about other information that naturally flows from any

question that PPOA instructed Ms. Casey not to answer (including questions that implicate

information beyond the verbatim text of the documents produced). This Court has the power

to fashion a waiver that is equitable and appropriate in scope, and the United States submits

that, in addition to a waiver over the actual information that PPOA has produced and to

which PPOA has permitted Ms. Casey to testify, a waiver that generally extends to Ms.

Casey’s knowledge and involvement in physician hiring and compensation, contract

modifications, and related compliance is reasonable and appropriate under the circumstances.

                                       CONCLUSION
       For the foregoing reasons, the United States respectfully requests that the Court issue

an order compelling Ms. Casey to sit for her CID examination and answer all questions posed

by the Department pertaining to the hiring and compensation of physicians, the modifications

of contract terms, and issues of legal compliance related to all of the above.




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Dated: March 12, 2021              Respectfully submitted,

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